              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FOURTH CIRCUIT



UNITED STATES OF AMERICA,
         Plaintiff - Appellee,

      v.                                                  No. 24-4543

ELIAS NICK COSTIANES, JR.,
         Defendant - Appellant.



                JOINT MOTION TO VACATE CONVICTION
                    AND REMAND FOR DISMISSAL

      The United States of America and defendant-appellant Elias Nick Costianes,

Jr., hereby jointly move to vacate the defendant’s conviction and remand this case to

the district court to dismiss the indictment with prejudice pursuant to Federal Rule

of Criminal Procedure 48(a). See 28 U.S.C. § 2106.

      On January 20, 2025, President Donald J. Trump issued an Executive Order

in which he granted a full and unconditional pardon to all “individuals convicted of

offenses related to events that occurred at or near the United States Capitol on

January 6, 2021.” Proclamation No. 10887, 90 Fed. Reg. 8331 (Jan. 20, 2025). The

President also directed the Attorney General “to pursue dismissal with prejudice to

the government of all pending indictments against individuals” for such conduct. Id.

On February 12, 2025, Mr. Costianes filed an emergency motion for a stay of his


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sentence and injunctive relief in which he argued that his offenses were covered by

the scope of the pardon. See Dkt. No. 19 (as amended). On February 19, 2025, the

government informed this Court that it agreed with Mr. Costianes that he had been

pardoned. See Dkt. No. 20. On February 27, 2025, the Court directed the parties to

file supplemental responses to three questions related to the Court’s jurisdiction and

authority to review the pardon’s scope, as well as its meaning. See Dkt. No. 23.

      After further considering this case in light of the Court’s questions, the

government has determined that the more efficient and prudent course—and the one

most consistent with President Trump’s instructions—is to move to vacate Mr.

Costianes’s conviction and dismiss the indictment under Rule 48(a). See Rinaldi v.

United States, 434 U.S. 22, 25 n.8 (1977) (per curiam). The government has

determined that, as a matter of prosecutorial discretion, it is appropriate to forgo

further proceedings on Mr. Costianes’s non-final conviction and instead agree to

dismissal with prejudice under Rule 48.

      The parties agree that the government’s exercise of its discretion to dismiss

this prosecution, and the corresponding vacatur of Mr. Costianes’s conviction, moots

his pending emergency motion for a stay and injunctive relief and obviates the need

for this Court to address the supplemental questions it has raised in response to that

motion. The parties would, of course, respond to the Court’s questions if the Court

were to so direct after reviewing this joint motion. But in light of the government’s


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decision to move to dismiss, the case can now be resolved on more straightforward

grounds, rendering consideration of those issues unnecessary.

      WHEREFORE, the parties respectfully request that the Court grant this joint

motion and remand the case to the district court.

                                             Respectfully submitted,


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      This joint motion complies with the type-volume limitation set forth in Fed.

R. App. P. 27(d)(2)(A) because, excluding the parts of the document exempted by

Fed. R. App. P. 32(f), it contains 450 words.

      This motion also complies with the typeface and type-style requirements in

Fed. R. App. P. 32(a)(5) and (a)(6) because it has been prepared in a proportionally

spaced typeface using Microsoft Word in 14-point Times New Roman font.

Dated: March 12, 2025.                             /s/ David C. Bornstein
                                                   Assistant United States Attorney




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